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                                                 UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION

DENISE CHILDERS,

                             Plaintiff,                          Case No. 2:16-cv-14428
                                                                 District Judge Nancy G. Edmunds
v.                                                               Magistrate Judge Anthony P. Patti

GENERAL MOTORS LLC,

          Defendant.
_________________________/

             ORDER GRANTING IN PART AND DENYING IN PART
         PLAINTIFF’S MOTION FOR SANCTIONS, TO COMPEL, AND TO
                   EXTEND SCHEDULING ORDER (DE 73)

              This matter is before the Court for consideration of Plaintiff’s motion for

sanctions, to compel, and to extend scheduling order (DE 73), Defendant’s

response (DE 76), Plaintiff’s reply (DE 78), and the parties’ joint list of unresolved

issues (DE 80). Judge Edmunds referred this motion for hearing and

determination. (DE 74.)1

              Plaintiff’s motion came before the Court for a hearing on September 5,

2018. On the date set for hearing, attorneys Jeffrey M. Thomson, Margaret Carroll

Alli, and Alexis Martin appeared. At the hearing, counsel for the parties informed
                                                            
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  On July 9, 2018, the Court granted Plaintiff’s request for extension of the
scheduling order dates, and stated that the remainder of the issues raised in
Plaintiff’s motion remain pending and will be addressed at the scheduled hearing.
(Text-Only Order dated 7/9/2018.) Accordingly, the portion of the motion which
requests an extension of the scheduling order is deemed moot.
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the Court that they had resolved several more of the disputed matters that had been

the subject of Plaintiff’s motion. Counsel for the parties placed a stipulation as to

these resolved matters on the record.

      The two issues that remain unresolved are: (1) whether Defendant has

violated the Order to Compel, Defendant’s stipulation, and the Stay Order; and (2)

if so, what sanctions are appropriate under the circumstances. As to these

remaining issues, consistent with my findings and reasoning stated on the record,

which are hereby incorporated by reference, Plaintiff’s motion for sanctions, to

compel and to extend the scheduling order (DE 73), as narrowed by the August 31,

2018 joint list of unresolved issues (DE 80) and the aforementioned stipulation, is

GRANTED IN PART and DENIED IN PART.

      First, the Court finds that Defendant has violated the Court’s October 5,

2017 Order granting in part and denying in part Plaintiff’s motion to compel

(DE37), including the stipulations placed on the record at the October 4, 2017

hearing, as well as the Court’s October 11, 2017 Stay Order, which expressly

instructed:

      [n]otwithstanding the stay on Defendant’s obligation to produce
      discovery materials to Plaintiff, Defendant is not absolved of its
      obligation to continue to collect and prepare the materials which were
      previously ordered or agreed to be produced by the stipulations, so
      that these materials are capable of being produced soon after
      resolution of Plaintiff’s objections [to the Protective Order].



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(DE 40). The stay was lifted, at the latest, on May 3, 2018, when the parties filed

their stipulated protective order (DE 67). While Defendant has produced a large

number of documents since the stay was lifted, it is undisputed that it produced the

vast majority of those documents (almost 80%) only after the instant motion was

filed on June 20, 2018, and well after the stay was lifted and the stipulated

protective order was entered on May 3, 2018. Therefore, as explained on the

record, the Court finds that Defendant failed to comply with the Court’s orders –

including the Court’s directive to “collect and prepare” discovery materials for

production during the seven month stay period – and the parties’ stipulations, and

Plaintiff’s instant motion to compel was necessary.

      Pursuant to Federal Rule of Civil Procedure 37(b)(2)(c), the Court must

award the payment of “reasonable expenses, including attorney’s fees” for failure

to comply with a court order, “unless the failure was substantially justified or other

circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C).

The Court does not find that Defendant’s failure to comply with the Court’s orders

and the parties’ stipulations was “substantially justified” or that “other

circumstances make an award of expenses unjust,” and thus Plaintiff is awarded

her reasonable costs and attorney’s fees associated with this motion, pursuant to

Fed. R. Civ. P. 37(b)(2)(C). This award is to be paid by Defendant General Motors

to Plaintiff’s counsel. “Reasonable expenses” are expressly limited to expenses


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incurred in connection with the instant motion, including the briefing, preparation

for the hearing, and attendance at the hearing.

      Plaintiff shall submit an itemized bill of costs, under oath or declaration, for

the Court’s consideration via ECF on or before September 19, 2018 in support

thereof; thereafter, any specific objections to the amount of fees or costs being

sought must be filed by Defendant on or before September 26, 2018. Defendant

shall then pay the award of expenses within ten days of the Court’s determination.

      Finally, Rule 37(b)(2)(A) provides that the Court “may issue further orders”

for sanctions for failure to obey a discovery order. Fed. R. Civ. P. 37(b)(2)(A).

The Court finds, for the reasons stated on the record, that such further sanctions are

not warranted here. Furthermore, while Plaintiff may have suffered some

prejudice, it has largely been cured by Defendant’s late discovery productions, the

agreements made in the joint statement (DE 80), the stipulations placed on the

record today, the extension of the scheduling order deadlines, and the costs and

fees awarded herein.

    IT IS SO ORDERED.

Dated: September 5, 2018               s/Anthony P. Patti
                                       Anthony P. Patti
                                       UNITED STATES MAGISTRATE JUDGE




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                              Certificate of Service

I hereby certify that a copy of the foregoing document was sent to parties of record
on September 5, 2018, electronically and/or by U.S. Mail.

                                       s/Michael Williams
                                       Case Manager for the
                                       Honorable Anthony P. Patti




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